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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                            Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                          JOINT MOTION FOR A 14-DAY
                 ENLARGEMENT OF TIME TO FILE RESPONSE MOTIONS

         Dr. Craig Wright respectfully requests that the Court grant him a two-week enlargement of

  time to file his response to plaintiffs’ motion for attorney fees [D.E. 303] (the “Fee Motion”),

  which is presently due on December 4, 2019. Plaintiffs also request a two-week enlargement of

  time to file their response to Dr. Wright’s Objection to Magistrate’s Order [D.E. 311] (the

  “Objection”), which is presently due on December 9, 2019. The parties agree to each other’s

  request and, for simplicity sake, file this joint motion requesting a two-week enlargement of time

  for them to file their respective responses. As grounds for support, the parties state as follows:

         1.      On November 20, 2019, and after two 30-day extensions, plaintiffs filed their Fee

  Motions, attaching over 130 pages of exhibits, including time entries. Dr. Wright’s response to the

  Fee Motion is currently due on December 4, 2019.

         2.      On November 25, 2019, and after two 30-day extensions, Dr. Wright filed his 28-

  page objection to Judge Reinhart’s order. Plaintiffs’ response to the Objection is currently due on

  December 9, 2019.
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          3.      During the 14-day window for the parties to prepare their respective responses, in

  addition to the holiday, the parties have been (and continue to be) heavily engaged in discovery,

  including preparing for and taking depositions and responding to discovery requests.

          4.      Consequently, the parties require additional time to prepare their responses to the

  issues raised in the Fee Motion and the Objection. The parties respectfully submit that a two-week

  enlargement of time will allow them to fully brief the issues in their respective responses.

          5.      If the Court grants the parties’ request:

                  a. Dr. Wright’s response to the Fee Motion would be due on December 18, 2109;

                  b. Plaintiffs’ response to the Objection would be due on December 23, 2019

                      (though Plaintiffs have indicated it is their intention to file as soon as their

                      response is complete with the goal of filing sooner than December 23, 2019, if

                      possible).

          6.      This motion is brought in good faith and not for the purposes of delay.

                        CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Local Rule 7.1(a)(3), I certify that counsel for the movant has conferred with

  all parties affected by the relief sought in this motion. All parties agree to the relief sought.


   Attorneys for Plaintiffs                            Attorneys for Dr. Craig Wright

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                                  CERTIFICATE OF SERVICE

         I certify that on December 2, 2019, I electronically filed this document with the Clerk of

  the Court using CM/ECF. I also certify that this document is being served today on all counsel of

  record by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S. Mail.

                                                              /s/ Andres Rivero_______
                                                              ANDRES RIVERO
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